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IN THE UNITED STATES DISTRICT COURT DEC 3.9 2090
NORTHERN DISTRICT OF TEXAS [ CLERK US DiSTRIgre
FORT WORTH DIVISION | _ COURT i
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JUAN JIMENEZ-~-NAVA,
Movant,

NO. 4:20-CV-476-A
{NO. 4:18-CR-093-A)

Vs.

UNITED STATES OF AMERICA,

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Respondent.
FINAL JUDGMENT

In accordance with the memorandum opinion and order signed
this date,

The court ORDERS, ADJUDGES, and DECREES that all relief
sought by movant, Juan Jimenez-Nava, in the motion he filed
under 28 U.S.C. § 2255 to vacate, set aside, or correct sentence
be, and is hereby, denied.

SIGNED December 30, 2020.

 

 
